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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WHITE PLAINS HOUSING AUTHORITY,                                                    7/25/2022

                               Plaintiff,
                                                              No. 17-cv-06250 (NSR)
       -against-                                               ORDER & OPINION

MARIANINA OIL CORP.,

                               Defendant.

NELSON S. ROMÁN, United States District Judge:

       Plaintiff White Plains Housing Authority (“Plaintiff”), brings this action against

Marianina Oil Corporation (“Defendant” or “Marianina”), asserting claims under the Resource

Conservation and Recovery Act (“RCRA”), 42 U.S.C. § 6901 et seq. (ECF No. 59.) Plaintiff

alleges that its property was contaminated by discharges of gasoline and toxic-biproducts of

gasoline emanating from a former gasoline station at 34 East Post Road, White Plains, New

York (the “Service Station”), which is currently owned, and was formerly operated, by

Defendant. (Id.) On May 6, 2022, the Court held a show cause hearing where the parties

discussed Marianina’s sale of the Service Station to White Plains Hospital. After oral argument,

the parties consented to the Court’s oral order staying the closing of the sale until the parties

could agree on a rider to add to the purchase and sale agreement that confirms that White Plains

Hospital would be stepping into the shoes of Marianina in the instant action. The Court has now

received several letters from Marianina requesting the Court lift the stay (ECF Nos. 217; 219;

221) and several letters from Plaintiff opposing the request (ECF Nos. 218; 220; 222.) After a

review of the materials, it is hereby

       ORDERED that the stay of the sale is lifted on the condition that White Plains Hospital is

prepared to step into the shoes of Marianina in all aspects of this matter, meaning that White
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